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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

       JENNIFER SEME                                   :             CIVIL ACTION
                                                       :
               v.                                      :
                                                       :
       GIBBONS P.C.                                    :             NO. 19-cv-857


                                             ORDER


               AND NOW: This 16th day of November, 2021, it having been reported that the
issues between the parties in the above action have been settled, and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is

              ORDERED that the above action is DISMISSED with prejudice, pursuant to
agreement of counsel, without costs.




                                                           BY THE COURT:




                                                    ___/s/ John R. Padova_______________
                                                       John R. Padova,                 J.
